Case 1:10-cv-10107-WGY Document 14 Filed 05/12/10 Page 1 of 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

BANK OF AMERICA, N.A., as successor to
LaSalle Bank, N.A., as assignee from German
American Capital Corp., Trustee for the
Registered Holders of CD 2006-CD3)
Commercial Mortgage Securities Corp.,
Commercial Mortgage Pass-Through
Certificates,

Plaintiff,

V.

EXTELL BOSTON PARKING LLC,
Defendant.

MEMORANDUM IN SUPPORT OF

CiviL ACTION No.
10-10107 -WGY

DEFENDANT’S MOTION TO SET ASIDE DEFAULT

I. INTRODUCTION

Defendant Extell Boston Parking LLC

Memorandum in Support of its Motion to Set Aside the Default previously entered in favor of the
Plaintiff, Bank of America, N.A., as successor to LaSalle Bank, N.A., as assignee from German
American Capital Corp., Trustee for the Registered Holders of CD 2006-CD3 Commercial
Mortgage Securities Corp., Commercial Mortgage Pass-Through Certificates (“Lender” or
“Plaintiff), and in support of its additional request that the Court grant it an additional fourteen
(14) days from today to file its answer or otherwise respond to the complaint, or until May 26,
2010. As detailed below, Extell had good reason for not filing a responsive pleading prior to the

entry of default, and the Plaintiff will not be prejudiced by the Court granting the relief sought by

Extell.

“Defendant”) submits
Case 1:10-cv-10107-WGY Document 14 Filed 05/12/10 Page 2 of 3

II. ARGUMENT

The Plaintiff filed its complaint in this matter on January 25, 2010 and effected service of
the complaint shortly thereafter on January 26, 2010. Promptly after the filing of the complaint,
Extell began continuous negotiations with Plaintiff's special servicer, J. E. Robert Company, in
an effort to resolve this dispute. During the course of these negotiations, Extell made
substantial cash offers to the special servicer, including an offer made as recently as Friday,
May 7, 2010. It was the understanding of Extell’s counsel engaged in these negotiations that an
understanding had been reached that Extell would not be required to answer or otherwise
respond to Plaintiff's complaint during the pendency of the negotiations.

On the evening of Monday, May 10, 2010, however, Plaintiff filed a request to enter
default against Extell on the grounds that Extell had failed to serve a responsive pleading or
otherwise defend against Plaintiffs complaint. Plaintiff did not serve Extell with a copy of its
request and did not otherwise indicate that it would be filing a request for entry of default.
Immediately upon Extell’s discovery that Plaintiff had filed a request for entry of default, Plaintiff
took steps to ensure that it would have an opportunity to respond to Plaintiff's complaint., but
was unable to file a responsive motion prior to entry of default by the Court, despite a diligent
attempt to do so.

Plaintiff will not be prejudiced by the Court setting aside the default in this matter.
Specifically, Plaintiff's decision to wait over three months before filing a request for default is
evidence that there was an understanding that the parties were working to resolve this dispute.
Moreover, it is in the interest of justice that Extell have an opportunity to present its defenses

and to allow the Court to consider Extell’s position with respect to Plaintiff's claims.
Case 1:10-cv-10107-WGY Document 14 Filed 05/12/10 Page 3 of 3

Ill. CONCLUSION
Extell therefore requests that the Court set aside the default and enlarge the time in
which Extell has to answer or otherwise respond to Plaintiff's Complaint until May 26, 2010.
EXTELL BOSTON PARKING LLC

By its attorneys,

May 12, 2010 Stefehen D. Rorenberg

Stephen D. Rosenberg

The McCormack Firm, LLC

One International Place — 7th Floor
Boston,MA 02110

Ph: 6179*951*2929

Fax: 617°951*2672

E-mail: srosenberg@mccormackfirm.com

CERTIFICATE OF SERVICE
| hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants, as identified on the Notice of Electronic File (“NEF”),

and paper copies will be sent to those indicated as non-registered participants on May 12, 2010,
by first class mail.

Stephen D. Rosenberg

Stephen D. Rosenberg

139408.1
